       Case: 1:21-cv-01239-CEF Doc #: 46 Filed: 03/27/23 1 of 3. PageID #: 1222




                       UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF OHIO, EASTERN DIVISION

    UNITED STATES OF AMERICA ex rel.
    White, at al.,
                                                  Case. No. 21-cv-01239

                         Plaintiffs,              Judge Charles E. Fleming

                    v.                            STIPULATION AND ORDER

    RITE AID CORPORATION, et al.,

                         Defendants.



         Plaintiff the United States of America (the “United States”) and Defendants Rite Aid

Corporation,1 Rite Aid of Connecticut, Inc., Rite Aid of Delaware, Inc., Rite Aid of Maryland,

Inc., Rite Aid of Michigan, Inc., Rite Aid of New Hampshire, Inc., Rite Aid of New Jersey, Inc.,

Rite Aid of Ohio, Inc., Rite Aid of Pennsylvania, Inc., Rite Aid of Virginia, Inc., and Rite Aid

Hdqtrs. Corp. (“Defendants”), have reached the following agreements subject to the approval of

the Court.

         WHEREAS, on March 13, 2023, the United States filed a Complaint in Intervention

(“Complaint”) against Defendants;



1
 By entering into this stipulation, Defendants do not waive, but instead preserve, any and all
arguments and defenses they may have, including as to jurisdiction.
     Case: 1:21-cv-01239-CEF Doc #: 46 Filed: 03/27/23 2 of 3. PageID #: 1223




       WHEREAS, under Federal Rule of Civil Procedure 4 Defendants waived service of the

Complaint such that their responsive pleading is currently due on May 12, 2023;

       WHEREAS, the parties agree and stipulate that:

           1. Defendants shall have an additional 30 days to file their responsive pleading(s),

               until June 12, 2023;

           2. Should Defendants file any motions as responsive pleadings, the United States

               shall have an additional 30 days to file its response(s) (in addition to the 30 days

               allotted under the Federal Rules);

           3. Defendants shall have an additional 14 days to file any replies in support of their

               motion(s) (in addition to the 14 days allotted under the Federal Rules).

IT IS SO STIPULATED.



[signatures on following page]




                                                2
Case: 1:21-cv-01239-CEF Doc #: 46 Filed: 03/27/23 3 of 3. PageID #: 1224
